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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:09CR287
                              )
          v.                  )
                              )
YER YANG,                     )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s second

motion for leave to subpoena necessary witnesses in forma

pauperis (Filing No. 96).      The Court will grant the motion.

Accordingly,

           IT IS ORDERED that defendant’s motion is granted.                The

subpoena for Lee Vang shall be issued and served without cost to

defendant.   Lee Vang shall be reimbursed for travel expenses to

and from Omaha, Nebraska, and paid a witness fee.

           DATED this 1st day of July, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ___________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
